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EDOK - Application for Search Warrant (Revised 5/13)




                                United States District Court
                                                 EASTERN DISTRICT OF OKLAHOMA
IN THE MATTER OF THE SEARCH OF                                                    SEALED

GOOGLE ACCOUNT            AND                                                     Case No. 21-MJ-202-KEW
INFORMATION STORED AT PREMISES
CONTROLLED BY GOOGLE LLC


                                             APPLICATION FOR SEARCH WARRANT
         I, Dustin Thornton, a federal law enforcement officer or an attorney for the government, request a search warrant and
state under penalty of perjury that I have reason to believe that there is now concealed on the following person or property
located in the NORTHERN District of CALIFORNIA (identify the person or describe property to be searched and give its location):

                           SEE ATTACHMENT "A"

              The person or property to be searched, described above, is believed to conceal (identify the person or describe the property to
be seized):
                           SEE ATTACHMENT "B"

              The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):

                           ☒ evidence of a crime;
                           ☐ contraband, fruits of crime, or other items illegally possessed;
                           ☐ property designed for use, intended for use, or used in committing a crime;
                           ☐ a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of Title 18, United States Code, Sections 371, 922, 924, Title 21, Section 841, and
Title 26, Section 5861, and the application is based on these facts:

                           ☒ Continued on the attached sheet.
                           ☐ Delayed notice of        days (give exact ending date if more than 30 days:                     )   is   requested
                           under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.



                                                                                  Dustin Thornton, Task Force Officer
                                                                                  Federal Bureau of Investigation

Sworn to before me and signed in my presence.

Date:         April 28, 2021
                                                                                                         Judge's signature

City and state:            Muskogee, Oklahoma                                           UNITED STATES MAGISTRATE JUDGE
                                                                                                      Printed name and title
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                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Dustin Thornton, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I am employed by the Oklahoma Highway Patrol. I am a peace officer under the

laws of Oklahoma and have the authority to investigate motor vehicle collisions and to assist other

law enforcement agencies with the investigation of motor vehicle collisions. I have 17 years of

law enforcement experience. I have been employed with the Oklahoma Highway Patrol for the

past 12 years and graduated from the Oklahoma Highway Patrol Academy in 2009. I have attended

over 4500 hours of Law Enforcement continuing education. During my training, I have received

significant instruction in the field of vehicle collision investigations. During my career, I have

investigated over 500 motor vehicle collisions.

       2.      I am “an investigative or law enforcement officer of the United States" within the

meaning defined in 18 U.S.C. § 2510 (7), in that I am also a Task Force Officer assigned to the

Federal Bureau of Investigation (FBI) Oklahoma Safe Trails Task Force. I am authorized by law

to conduct investigations of traffic fatalities and collisions that occur in Indian Country as that

term is defined in 18 U.S.C. § 1151.

       3.      I make this affidavit in support of an application for a search warrant for

information associated with a certain Google Account ID                    (“the SUSPECT

ACCOUNT”), that is stored at premises controlled by Google LLC, an electronic communication

service and remote computing service provider headquartered in Mountain View, California.

The information to be searched is described in the following paragraphs and in Attachment A.

This affidavit is made in support of an application for a search warrant under 18 U.S.C. §

2703(c)(1)(A) to require Google LLC to disclose to the Government copies of the information
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further described in Section I of Attachment B. Upon receipt of the information described in

Section I of Attachment B, Government-authorized persons will review the information to locate

items described in Section II of Attachment B.

       4.        This affidavit is intended to show merely that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

       5.        Based on my training and experience and the facts as set forth in this affidavit, there

is probable cause to believe that violations of Title 18, United States Code Sections 13, 1151, and

1152 as well as a violation of Title 47, Oklahoma Statutes, Section 10-102.1, have been committed

by unknown person(s). There is also probable cause to search the information described in

Attachment A for evidence of these crimes further described in Attachment B.

                                          JURISDICTION

       6.        This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. Specifically, the Court is “a district court

of the United States . . . that has jurisdiction over the offense being investigated.” 18 U.S.C. §

2711(3)(A)(i).

       BACKGROUND RELATING TO GOOGLE AND RELEVANT TECHNOLOGY

       7.        Based on my training and experience, I know that cellular devices, such as mobile

telephone(s), are wireless devices that enable their users to send or receive wire and/or electronic

communications using the networks provided by cellular service providers.               Using cellular

networks, users of many cellular devices can send and receive communications over the Internet.

       8.        I also know that many devices, including but not limited to cellular devices, have

the ability to connect to wireless Internet (“wi-fi”) access points if the user enables wi-fi

connectivity. These devices can, in such cases, enable their users to send or receive wire and/or
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electronic communications via the wi-fi network. A tablet such as an iPad is an example of a

device that may not have cellular service but that could connect to the Internet via wi-fi. Wi-fi

access points, such as those created through the use of a router and offered in places like homes,

hotels, airports, and coffee shops, are identified by a service set identifier (“SSID”) that functions

as the name of the wi-fi network. In general, devices with wi-fi capability routinely scan their

environment to determine what wi-fi access points are within range and will display the names of

networks within range under the device’s wi-fi settings.

       9.      Based on my training and experience, I also know that many devices, including

many cellular and mobile devices, feature Bluetooth functionality. Bluetooth allows for short-

range wireless connections between devices, such as between a device such as a cellular phone or

tablet and Bluetooth-enabled headphones. Bluetooth uses radio waves to allow the devices to

exchange information. When Bluetooth is enabled, a device routinely scans its environment to

identify Bluetooth devices, which emit beacons that can be detected by devices within the

Bluetooth device’s transmission range, to which it might connect.

       10.     Based on my training and experience, I also know that many cellular devices, such

as mobile telephones, include global positioning system (“GPS”) technology.               Using this

technology, the device can determine its precise geographical coordinates. If permitted by the

user, this information is often used by applications (apps) installed on a device as part of the apps’

operation.

       11.     Based on my training and experience, I know Google is a company that, among

other things, offers an operating system (“OS”) for mobile devices, including cellular phones,

known as Android. Nearly every device using the Android operating system has an associated
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Google account, and users are prompted to add a Google account when they first turn on a new

Android device.

       12.     In addition, based on my training and experience, I know that Google offers

numerous apps and online-based services, including messaging and calling (e.g., Gmail, Hangouts,

Duo, Voice), navigation (Maps), search engine (Google Search), and file creation, storage, and

sharing (e.g., Drive, Keep, Photos, and YouTube). Many of these services are accessible only to

users who have signed in to their Google accounts. An individual can obtain a Google account by

registering with Google, and the account identifier typically is in the form of a Gmail address (e.g.,

example@gmail.com). Other services, such as Maps and YouTube, can be used with limited

functionality without the user being signed into a Google account.

       13.     Based on my training and experience, I also know Google offers an Internet

browser known as Chrome that can be used on both computers and mobile devices. A user has

the ability to sign-in to a Google account while using Chrome, which allows the user’s bookmarks,

browsing history, and other settings to be uploaded to Google and then synced across the various

devices on which the subscriber may use the Chrome browsing software, although Chrome can

also be used without signing into a Google account. Chrome is not limited to mobile devices

running the Android operating system and can also be installed and used on Apple devices and

Windows computers, among others.

       14.     Based on my training and experience, I know that, in the context of mobile devices,

Google’s cloud-based services can be accessed either via the device’s Internet browser or via apps

offered by Google that have been downloaded onto the device. Google apps exist for, and can be

downloaded to, devices that do not run the Android operating system, such as Apple devices.
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       15.     According to my training and experience, as well as open-source materials

published by Google, I know that Google offers accountholders a service called “Location

History,” which authorizes Google, when certain prerequisites are satisfied, to collect and retain a

record of the locations where Google calculated a device to be based on information transmitted

to Google by the device. That Location History is stored on Google servers, and it is associated

with the Google account that is associated with the device. Each accountholder may view their

Location History and may delete all or part of it at any time.

       16.     Based on my training and experience, I know that the location information collected

by Google and stored within an account’s Location History is derived from sources including GPS

data and information about the wi-fi access points and Bluetooth beacons within range of the

device. Google uses this information to calculate the device’s estimated latitude and longitude,

which varies in its accuracy depending on the source of the data. Google records the margin of

error for its calculation as to the location of a device as a meter radius, referred to by Google as a

“maps display radius,” for each latitude and longitude point.

       17.     Based on open-source materials published by Google and my training and

experience, I know that Location History is not turned on by default. A Google accountholder

must opt-in to Location History and must enable location reporting with respect to each specific

device and application on which they use their Google account in order for that usage to be

recorded in Location History. A Google accountholder can also prevent additional Location

History records from being created at any time by turning off the Location History setting for their

Google account or by disabling location reporting for a particular device or Google application.

When Location History is enabled, however, Google collects and retains location data for each

device with Location Services enabled, associates it with the relevant Google account, and then
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uses this information for various purposes, including to tailor search results based on the user’s

location, to determine the user’s location when Google Maps is used, and to provide location-

based advertising. As noted above, the Google accountholder also has the ability to view and, if

desired, delete some or all Location History entries at any time by logging into their Google

account or by enabling auto-deletion of their Location History records older than a set number of

months.

        18.     Location data, such as the location data in the possession of Google in the form of

its users’ Location Histories, can assist in a criminal investigation in various ways. As relevant

here, I know based on my training and experience that Google has the ability to determine, based

on location data collected and retained via the use of Google products as described above, devices

that were likely in a particular geographic area during a particular time frame and to determine

which Google account(s) those devices are associated with. Among other things, this information

can indicate that a Google accountholder was near a given location at a time relevant to the criminal

investigation by showing that his/her device reported being there.

        19.     Based on my training and experience, I know that when individuals register with

Google for an account, Google asks subscribers to provide certain personal identifying

information. Such information can include the subscriber’s full name, physical address, telephone

numbers and other identifiers, alternative email addresses, and, for paying subscribers, means and

source of payment (including any credit or bank account number). In my training and experience,

such information may constitute evidence of the crimes under investigation because the

information can be used to identify the account’s user or users. Based on my training and my

experience, I know that even if subscribers insert false information to conceal their identity, this

information often provide clues to their identity, location, or illicit activities.
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       20.      Based on my training and experience, I also know that Google typically retains and

can provide certain transactional information about the creation and use of each account on its

system. This information can include the date on which the account was created, the length of

service, records of login (i.e., session) times and durations, the types of service utilized, the status

of the account (including whether the account is inactive or closed), the methods used to connect

to the account (such as logging into the account via the provider’s website), and other log files that

reflect usage of the account. In addition, Google often has records of the Internet Protocol address

(“IP address”) used to register the account and the IP addresses associated with particular logins

to the account. Because every device that connects to the Internet must use an IP address, IP

address information can help to identify which computers or other devices were used to access the

account.

       21.      Based on my training and experience, I also know that Google retains and stores

electronic communications, visual depictions, and search queries generated by users with their

applications such as Gmail, Hangouts, Duo, Voice, Drive, and Search. on a cloud-based server so

that users can access and obtain their communications, pictures/videos, and queries from other

devices. Likewise, users of Android phones can back-up and sync their text and media messages,

phone calls, and voicemails to their cloud-based server.

                                       PROBABLE CAUSE

       22.      On March 18, 2021, at 21:54 hours, a fatal traffic collision occurred at the

intersection of U.S. Highway 62 and South 460 Road in Cherokee County, Oklahoma. This

location is within the Eastern District of Oklahoma and within the definition of “Indian Country”

as it occurred within the boundaries of the Cherokee Nation Reservation.
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       23.     Troopers of the Oklahoma Highway Patrol, including myself, were dispatched to

the scene. Based on our observation of evidence at the scene, including debris from a vehicle, and

speaking to witnesses, investigators determined that a female later identified as J        D       ,

was travelling southbound on South 460 Rd. on her bicycle and was attempting to cross U.S. 62,

when she was struck by an unknown vehicle travelling westbound on U.S. 62. D           was assisted

by another motorist until she was transported by air ambulance to St. John Hospital in Tulsa. She

later died from her injuries. D      was confirmed as a member of the Cherokee Nation.

       24.     Based on small fragments collected from the scene of the collision, I believe the

suspect vehicle to be white.

       25.     The location of the collision is a rural, four-lane highway separated by an

unimproved median. There are no traffic control devices. There are a small number of commercial

businesses and residences located near the intersection. I was able to retrieve surveillance video

from several nearby businesses. A review of the videos shows that the collision occurred at 21:54

hours and that shortly after the collision, the suspect vehicle pulled over to the shoulder of the

highway a short distance from the collision. The suspect vehicle stopped for approximately 10

seconds before resuming westbound travel on U.S. 62 and leaving the scene. In the one-minute

timespan after the collision, the videos show six other vehicles travelling through the collision

area. Five of the six vehicles are travelling eastbound.

       26.     On April 7, 2021, I obtained a search warrant ordering Google LLC to create a

historical “geo-fence,” comprised of a geographical area approximately 1000’ by 170’ surrounding

the area of the collision for a period two minutes before and two minutes after the collision and to

disclose to the Government any geolocation data held by Google as well as any identifying

information for Google Accounts within that geo-fence during the aforementioned time period.
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        27.     Google LLC initially produced said geolocation data in an anonymized format,

 which revealed a device that crossed through the geofence from 21:54:18 to 21:54:35 with three

 location datapoints within the geofence. The timing and location of the datapoints is consistent

 with the device travelling westbound on U.S. 62 at the exact moment of the collision and is

 consistent with the behavior of the suspect vehicle on video. As a result, and in accordance with

 the warrant, I requested that Google LLC identify the account and basic subscriber information

 associated with said device.

        28.     Google LLC revealed that the Google Account associated with the said device is

                   (“SUSPECT ACCOUNT”). The name associated with the account is “s

 f      ” with an email of              @gmail.com.” The account was created on March, 1, 2011

 and uses a number of Google services and applications, including Web & App Activity, Gmail,

 Google Hangouts, iGoogle, Profiles, YouTube, Google Voice, Google Photos, Google Drive,

 Android, Google Calendar, Google Chrome Sync, Google Play Music, Google Docs, Google Play,

 Google Takeout, Location History, Google Cloud Print, Blogger, Google My Maps, Is In Family,

 Google Payments, Google Keep, G1 Phone Backup, Play Loyalty, Device Centric Auth, Android

 Device Console, Has Google One Membership Information. Two cellphone numbers associated

 with the account are             -1695 and         -2760. The account continues to be active, with

 the most recent login (at the time the data was compiled in response to the search warrant) being

 April 11, 2021.

        29.     I conducted a search of law enforcement databases for “S      F       ” and “S

 S    ” I located a S         F       who has 2 listed addresses,

                        and                                                             . Based on

 my familiarity with the area, and with the assistance of Google Maps, I estimate it would take
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 approximately an hour to travel from the scene of the crash to either            ,

                                 or                                               .

 When I accessed Google Maps, the street view of

 showed a black vehicle in the driveway. The street view was dated April 2012:
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 However, when I switched from street-view to satellite view, I observed a white vehicle in the

 driveway of                                                      . This satellite image was from

 2021:




 Additionally, when officers conduct a drive-by of the second address,                            ,

                                 they observed a white vehicle on the street in front of the house.
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         30.     To determine who was actually using the said device with the Suspect Account at

 the time of the collision, the route of the suspect vehicle before and after the collision, any potential

 motive for fleeing the scene of the collision, potential witnesses or locations visited before or after

 the collision, as well as any potential attempts to tamper with evidence by altering or concealing

 the suspect vehicle, I am requesting all Location History for the SUSPECT ACCOUNT for a

 period from 10:00am on March 18, 2021 (approximately 12 hours before the crash) until 10:00pm

 on March 25, 2021 (one week after the crash).

         31.     Additionally, based on my training and experience, it is not uncommon for persons

 involved in hit-and-run collisions to call, text, or otherwise inform close family members or friends

 of the collision, ask for assistance after the collision, and/or take steps to tamper with their vehicle

 after the collision, such a taking the vehicle to a car wash, auto repair shop, or to otherwise alter,

 repair, or dispose of the vehicle. As a result, I am also requesting any stored communications, such

 as text messages, media messages, VoIP (voice over Internet Protocol) calls, instant messages, or

 emails, any stored visual depictions, such as photos or videos, and any browsing history or search

 queries generated by the SUSPECT ACCOUNT during the aforementioned time frame and held

 or retained by Google LLC in electronic storage.

                                            CONCLUSION

         32.     Based on the foregoing, I request that the Court issue the proposed warrant,

 pursuant to 18 U.S.C. § 2703(c), authorizing the search of the property described in Attachment A

 and directing direct Google to disclose to the government any information described in Section I

 of Attachment B that is within its possession, custody, or control.
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        33.     Additionally, because the warrant will be served on Google, who will then compile

 the requested records at a time convenient to it, reasonable cause exists to permit the execution of

 the requested warrant at any time in the day or night.



                                                      Dustin Thornton, Task Force Officer
                                                      Federal Bureau of Investigation


 Sworn to and subscribed to before me April 28, 2021.



                                                      United States Magistrate Judge
                                                      Eastern District of Oklahoma
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                                     ATTACHMENT A

                                  Property To Be Searched

        This warrant applies to records and information associated with Google Account ID

                                    that is held by and stored at premises controlled by Google

 LLC, headquartered in Mountain View, California.
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                                        ATTACHMENT B

                                    Particular Items to Be Seized

 I.     Information to be Disclosed by Google

        Google LLC shall disclose the following information or records pertaining to the

 SUSPECT ACCOUNT within its possession, custody, or control, including any information or

 records that have been deleted by the subscriber but still available to Google, from a time period

 starting on 03-18-21 at 10:00am (CST) until 03-25-21 at 10:00pm (CST):

        (1) Google account identifier and basic subscriber information;

        (2) Location History data for the Suspect Account during the specified time frame,

            sourced from information including GPS data and information about visible wi-fi

            points and Bluetooth beacons transmitted to Google, including the date and time,

            latitude and longitude, source, and display radius of each location datapoint;

        (3) All wire or electronic or wire communications sent, received, drafted, or generated by

            the Suspect Account during the specified time frame, including but not limited to text

            messages, media messages, VoIP (voice over Internet Protocol) calls, instant

            messages, or emails, including the date and time of the communication, the content of

            the communication, method of communication, the source and destination of the

            communication;

        (4) All visual depictions, such as photos or videos, sent, received, drafted, or generated

            by the Suspect Account during the specified time frame; and

        (5) Any browsing history or search queries generated by the Suspect Account during the

            specified time frame.
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                Google LLC shall provide said information and records with an affidavit or sworn

        declaration certifying the authenticity of said records in accordance with Rule 902(11) of

        the Federal Rules of Evidence.



 II.    Information to be Seized by the Government

        All information described above in Section I that constitutes evidence of violations of Title

 18, United States Code Sections 13, 1151, and 1152 as well as a violation of Title 47, Oklahoma

 Statutes, Section 10-102.1 on March 18, 2021 involving unknown person(s).

        Law enforcement personnel (who may include, in addition to law enforcement officers

 and agents, attorneys for the government, attorney support staff, agency personnel assisting the

 government in this investigation, and outside technical experts under government control) are

 authorized to review the records produced by the Provider in order to locate the things

 particularly described in this Warrant.
